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                            UNITED STATES OF AMERICA
                          UNITED STATES DISTRICT COURT
                      FOR THE W ESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,
                                                Case No. 2:12-cr-12-9

v.                                              Honorable R. Allan Edgar

ROBIN GINE VOELKER,

                Defendant.
___________________________________/


                              MEMORANDUM AND ORDER

         Defendant Robin Gine Voelker has filed a motion to suppress statements that she

made during a post-arrest interview on January 9, 2013. Doc. No. 253. On June 14, 2013,

U.S. Magistrate Judge Timothy P. Greeley submitted a report and recommendation that

recommended that Defendant’s motion to suppress be denied. Doc. No. 296. Defendant

has not filed any objections to this report and recommendation. After reviewing the record,

the Court ACCEPTS and ADOPTS the report and recommendation pursuant to 28 U.S.C.

§ 636(b)(1) and W .D. Mich. L.Cr.R. 57.2. Defendant’s motion to suppress [Doc. No. 253]

is DENIED.

         SO ORDERED.



Dated:               7/15/2013                             /s/ R. Allan Edgar
                                                R. Allan Edgar
                                                United States District Judge
